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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

   EVEREST REINSURANCE           §
   COMPANY,                      §
                                 §
        Plaintiff,               §
                                 §                     Civil Action No. 3:24-CV-0756-X
   v.                            §
                                 §
   BRADLEY COX, COX OIL LLC, and §
   COX INVESTMENT PARTNERS, LP, §
                                 §
        Defendants.              §

                       MEMORANDUM OPINION AND ORDER

       Before the Court is Defendant Bradley Cox’s Rule 12(b)(6) motion to dismiss

Everest Reinsurance Company’s (Everest) claims. (Doc. 36). The Court does not look

kindly on briefing that flaunts the local rules 1 and misleads the Court. 2 Having

reviewed the motion, the applicable law, and Everest’s complaint, the Court DENIES

the motion to dismiss.


       IT IS SO ORDERED this 15th day of May, 2025.



                                             ___________________________________
                                             BRANTLEY STARR
                                             UNITED STATES DISTRICT JUDGE




       1 Local Rule 7.2(c) limits briefs for motions to dismiss to twenty-five pages, and shoehorning

argument into the motion itself does not circumvent the rule.
        2 Twice, Cox quotes from the contracts underlying the complaint and omits language that

directly refutes his point. Doc. 36 ¶ 20 (omitting pertinent language from sections 1 and 3 of the
Agreement of Indemnity).

                                                 1
